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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

  IVANNA DEL CARMEN JIMENEZ RUIZ                      Case No.

                Plaintiff,

  v.

  NICHOLAS COLUCCI, as Chief of the
  Immigrant Investor Program Office, U.S.
  Citizenship and Immigration Services, in his
  official capacity;

  L. FRANCIS CISSNA, Director, U.S.
  Citizenship and Immigration Services, in his
  official capacity,

  KIRSTJEN M. NIELSON, Secretary, U.S.
  Department of Homeland Security, in her official
  capacity,

  UNITED STATES CITIZENSHIP AND
  IMMIGRATION SERVICES

                Defendants.

                 COMPLAINT FOR DECLARATORY AND MANDAMUS RELIEF

         Plaintiff, IVANNA DEL CARMEN JIMINEZ RUIZ, (the “Plaintiff” or “Ms. Jimenez”),

  through undersigned counsel, sue Defendants, NICHOLAS COLUCCI, Chief of the Immigrant

  Investor Program Office, L. FRANCIS CISSNA, Director of U.S. Citizenship and Immigration

  Services, KIRSTJEN M. NIELSON, Secretary of U.S. Department of Homeland Security (the

  “Defendants”), and in support alleges as follows:

                                 PRELIMINARY STATEMENT

         Plaintiff, a foreign investor of $500,000.00 in a new commercial enterprise pursuant to

  the EB-5 Program known as the EDG Hospitality Miami Airport LLC brings this action to
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  remedy the unlawful, unreasonable, arbitrary and capricious delay by the U.S. Citizenship and

  Immigration Services (“USCIS” or the “Agency”) in adjudicating the Form I-526, “Immigrant

  Petition by Alien Entrepreneur” (“Form I-526 Petition”), filed by the Plaintiff over two years

  ago. A copy of the Plaintiff’s Form I-526 USCIS Receipt Notice is attached hereto as Exhibit

  “A.”

         The Plaintiff’s Form I-526 Petition meets all the requirements for adjudication. The

  agency’s continuing and inexcusable delay in acting on the Plaintiff’s Form I-526 Petition is

  contrary to the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 555(b), 706(1), 706(2)(A),

  (C), (D), and warrants an exercise of this Court’s mandamus power under the Mandamus and

  Venue Act (“Mandamus Act”), 28 U.S.C. § 1331 and 1361.

         The continued delay in adjudicating the Form I-526 Petitions is causing the Plaintiff

  significant harm to her economic, social and mental welfare and that of her family. Accordingly,

  Plaintiff, by and through undersigned counsel, respectfully request this Court to issue an order

  directing Defendants to adjudicate the pending Form I-526 Petition within fifteen (15) days, or

  within a time frame this Court deems appropriate under the circumstances, pursuant to the APA

  and the Mandamus Act.

                             PARTIES, JURISDICTION AND VENUE

         1.       Plaintiff, IVANNA DEL CARMEN JIMINEZ RUIZ (“Ms. Jimenez” or

  “Plaintiff”) is a citizen of Venezuela.

         2.      Defendant NICHOLAS COLUCCI is the Chief of the Immigrant Investor

  Program Office (“IPO”), U.S. Citizenship and Immigration Services, and is sued in his official

  capacity.

         3.      Defendant, L. FRANCIS CISSNA is the Director of U.S. Citizenship and

  Immigration Services, and is sued in his official capacity. USCIS is located in Washington, D.C.


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  As Director of USCIS, the Defendant oversees all of the agency’s operating divisions, including

  the IPO. See 8 U.S.C. § 1103; 6 U.S.C. § 271(b).

         4.      Defendant, KIRSTJEN M. NIELSON, is the Secretary of U.S. Department of

  Homeland Security, and is sued in her official capacity. The Department of Homeland Security is

  located in Washington, D.C, and has oversight of USCIS. See 8 U.S.C. § 1103.

         5.      This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

  because the Plaintiff’s claim arises under the laws of the United States, specifically the

  Immigration and Naturalization Act, 8 U.S.C. § 1101, et seq. (“INA”) and its implementing

  regulations.

         6.      Further, this Court has subject-matter jurisdiction over this action and may grant

  relief pursuant to the Administrative Procedure Act, 5 U.S.C. § 555(b) and § 701 et seq., the

  Mandamus Act, 28 U.S.C. § 1361.

         7.      Venue is proper in the Southern District of Florida under 28 U.S.C. § 1391(e)

  because this is an action against officers and agencies of the United States in their official

  capacities, brought in the district where a substantial part of the events giving rise to the

  Plaintiff’s claim occurred.

                            LEGAL AND FACTUAL BACKGROUND

     I. The EB-5 Program

         8.      Congress created the EB-5 Program in 1990 to stimulate the U.S. economy

  through job creation and capital investment by foreign investors like the Plaintiff. Under the

  program, a foreign citizen may obtain permanent resident status upon the investment of at least

  $500,000 and the creation of at least ten full-time jobs as part of a new business venture. See 8

  U.S.C. § 1153(b)(5); 8 C.F.R. § 204.6(f)(2).




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         9.      As part of the EB-5 Program, Congress also created (and has regularly renewed)

  the Immigrant Investor Pilot Program, now called the Immigrant Investor Program. This subset

  of the EB-5 program permits a putative EB-5 investor to invest the requisite capital through a

  USCIS-approved “regional center.” A regional center is an entity for promoting economic

  growth and job creation in a particular geographic region of the United States, and each center

  may contain one or more new commercial enterprises under its umbrella. 8 C.F.R.

  §204.6(e)(m)(3).

         10.     To apply for an EB-5 visa, a foreign entrepreneur must submit a Form I-526

  Petition and supporting documentation demonstrating that the required capital has been

  committed and is actually at risk; that the investment is made from the entrepreneur’s own

  lawfully acquired funds; and the existence of a comprehensive business plan demonstrating that

  ten full-time jobs will be created by the investment. 8 C.F.R. § 204.6(j). For an investment

  through an approved regional center, the petition must be accompanied by evidence that the

  requisite investment will create ten full-time positions either directly or indirectly for no fewer

  than 10 individuals. Id. § 204.6(j)(4)(iii).

     II. The Plaintiff’s Form I-526 Petition under the EB-5 Program

         11.     On August 11, 2016, MS. Jimenez submitted Form I-526 Petition along with

  comprehensive supporting evidence demonstrating that the required capital was committed and

  was actually at risk; and further establishing the lawful source of the invested funds; and that,

  through the regional center, there existed a comprehensive business plan showing that at least ten

  full-time jobs would be created by each investor’s investment.

         12.     USCIS acknowledged receipt of the I-526 petition issuing receipt number

  WAC1690582758 to Ms. Jimenez Ruiz on August 15, 2016.




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         13.     In conjunction with the Form I-526 Petition, the Ms. Jimenez invested $500,000

  in a new commercial enterprise, EDG Hospitality Miami Airport LLC, (the “Project” or “EDG

  Hospitality”), a Florida Limited Liability Company formed in June of 2015. EDG Hospitality

  was formed to develop, own and operate a 189-room, select service hotel located at 3499 NW

  25th Street in Miami, Florida, which is near the Miami International Airport and the Miami

  Intermodal Center. The hotel will be flagged under the “Even Hotel” Brand of the

  InterContinental Hotels Group. The approved regional center for the Project is Florida EB5

  Investments, LLC.

         14.     The business operations of EDG Hospitality will be administered by its manager,

  Epelboim Development Group LLC, a Florida limited liability company formed in May 2015.

  Epelboim Development Group LLC will also serve as the Developer of the Hotel. The Project is

  located in a Targeted Employment Area (“TEA”), which pursuant to 8 C.F.R. §204.6(f)(2) allows

  the qualifying investment to be adjusted to $500,000.00.

         15.     Well-known economic consultants, Wright Johnson, LLC, analyzed the economic

  and employment benefits of the Project utilizing the RIMS II model, an economic model

  accepted by USCIS, which demonstrates in verifiable detail that the Project will lead to the

  creation of 290.8 new permanent jobs created. This figure easily satisfies the EB-5 Program’s

  job creation requirement on a per-investor basis.

         16.     Pursuant to the INA, Congress intends for all immigration applications and

  petitions to be processed within 6 months. “[I]t is the sense of Congress that the processing of an

  immigration benefit application should be completed not later than 180 days after the initial

  filing of the application, except that a petition for a nonimmigrant visa under section 1184(c) of




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  this title should be processed not later than 30 days after the filing of the petition.” 8 U.S.C.

  §1571(b).

          17.       According to the Notice of Proposed Rule Making (NPRM) published by USCIS

  in conjunction with its fee increase, USCIS data shows that it only takes 6.5 person hours to

  completely process an I-526 petition.

      III. USCIS Has Unreasonably Delayed Acting on Plaintiff’s Form I-526 Petition

          18.       Despite Ms. Jimenez having submitted a completed comprehensive Form I-526

  Petition in August of 2016, over two years ago, USCIS has unreasonably delayed adjudicating

  the Petition.

          19.       Immigration counsel for Ms. Jimenez inquired with the USCIS Immigrant

  Investor Program Office (“IPO”) as to the status of the pending I-526 Petition on August 27,

  2018. Immigration Counsel received a response from the IPO on September 11, 2018 stating that

  “While our processing times currently are beyond what we would like, USCIS has taken steps to

  increase capacity and is striving to ensure our commitment to our customers is being met.” A

  copy of the IPO inquiry and response thereto is attached as Exhibit “B”.

          20.       On November 16, 2018, Immigration counsel for Ms. Jimenez also inquired with

  the Office of the Citizenship and Immigration Services Ombudsman (“Ombudsman”) as to the

  status of the pending I-526 Petition. To date, however, there has been no response from the

  Ombudsman. A copy of the inquiry is attached as Exhibit “C”.

          21.       Despite requests for a specific and reasonable timeline for adjudication of the I-

  526 Petition, USCIS has refused and failed to provide any additional information or process the

  I-526 Petition.

          22.       Further, USCIS has: (1) not requested further information or evidence for the I-

  526 Petition; (2) never explained the reason for the lengthy and continuing delay as to the I-526


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  Petition; (3) not provided any indication of when the review might be completed, despite

  repeated requests.

          23.       The Form I-526 Petition has been outstanding for over (31) thirty-one months, a

  period outside the USCIS published processing time. A copy of the USCIS website page

  containing the processing times for the Immigrant Investor Program Office as of 03/19/2019 is

  attached as Exhibit “D.”

          24.       Despite requests, USCIS has not explained the reason for its unreasonable delay

  or refusal to adjudicate the Form I-526 Petition beyond the Agency’s published processing time.

      IV. The Plaintiff Will Suffer Significant Harm if Relief is Not Granted

          25.       As a result of the Agency’s unreasonable, protracted and unconscionable delay in

  the adjudication of the Form I-526 Petition, Ms. Jimenez has suffered and will continue to suffer

  harm. The Defendants’ delay has deprived the Plaintiff of the myriad privileges that accompany

  conditional permanent resident status in the U.S., including the ability to become a permanent

  resident, travel freely and live and work in the United States.

          26.       The Defendants’ delay in the EB-5 visa process has caused Ms. Jimenez to forego

  employment opportunities and prevented her from building a career in the United States. While

  her EB-5 visa petition remains in limbo, she has suffered anxiety stemming from the

  unreasonable delay in the process and the uncertainty surrounding her future.

          27.       If USCIS continues this unreasonable delay by failing to adjudicate the I-526

  Petitions, the Plaintiff will continue to suffer significant hardship.

          28.       Ms. Jimenez has no other adequate remedy available to her other than filing the

  instant action.

          29.       Ms. Jimenez has retained the undersigned as counsel in this matter and agreed to

  pay a reasonable fee for their services.


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           30.   All conditions precedent to bringing this action, if any, have occurred or have

  been performed, waived or excused.

                                       COUNT I
                             ADMINISTRATIVE PROCEDURE ACT
                          (5 U.S.C. § 555 and 5 U.S.C. § 701 et seq.)
                                      (Against All Defendants)

           31.   Plaintiff realleges all the allegations contained in paragraphs 1 through 30 above

  as though fully set forth herein.

           32.   Defendants are charged with the mandatory responsibility of administering and

  implementing the Immigration and Nationality Act.

           33.   Defendants have a mandatory duty to adjudicate Plaintiff’s Form I-526 Petition

  within a “reasonable time”.

           34.   Defendants have violated the Administrative Procedures Act by failing to timely

  adjudicate the Form I-526 Petition and this constitutes agency action that is arbitrary and

  capricious and not in accordance with law.

           35.   Section 555 of the APA commands administrative agencies to conclude matters

  presented to the agency for decision “within a reasonable time.” See 5 U.S.C. § 555(b) (“With

  due regard for the convenience and necessity of the parties… and within a reasonable time, each

  agency shall proceed to conclude a matter presented to it.”) (emphasis added).

           36.   The APA explicitly provides a right of judicial review to a person “adversely

  affected or aggrieved” by an agency’s “fail[ure] to act” or other such agency action. 5 U.S.C.

  § 702.




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         37.     When, as here, a proper showing is made, “[t]he reviewing court shall . . . compel

  agency action1 unlawfully withheld or unreasonably delayed.” See 5 U.S.C. § 706(1). The court

  must also “hold unlawful and set aside agency action” that is: “arbitrary, capricious, an abuse of

  discretion, or otherwise not in accordance with law”; “in excess of statutory jurisdiction,

  authority, or limitations, or short of statutory right”; or “without observance of procedure

  required by law.” Id. § 706(2)(A), (C), (D).

         38.     Defendants had a clear, mandatory duty to adjudicate I-526 Petitions like the

  Plaintiff’s and issue visas when the requirements have been satisfied.              See 8 U.S.C.

  § 1153(b)(5)(A); 8 U.S.C. § 1154(b); 8 C.F.R. § 204.6(k).

         39.     The Plaintiff has complied with all the requirements for adjudication of the Form

  I-526 Petition dated September 2, 2016. See 8 C.F.R. § 204.6.

         40.     Since that time, Defendants have unreasonably withheld, and unlawfully and

  unreasonably delayed, acting on the Plaintiff’s Form I-526 Petition in violation of the INA and

  APA.

         41.     Defendants have failed to discharge their mandated official duties by abusing their

  discretion and acting in an arbitrary and capricious manner in failing to adjudicate the Form I-

  526 Petition contrary to Congress’s explicit mandate to the agency set forth in the INA and APA.

         42.     As a result of Defendants’ failure to adjudicate the Form I-526 Petition, Plaintiff

  has suffered and continues to suffer irreparable harm and damages entitling her to declaratory,

  injunctive and other relief.

         43.     The Plaintiff has no other adequate legal remedy available to her.




  1
   “agency action” includes “the whole or a part of an agency rule, order, license, sanction, relief,
  or the equivalent or denial thereof, or failure to act.” 5 U.S.C. § 551(13) (emphasis added).


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                                           COUNT II
                                         MANDAMUS ACT
                                        (28 U.S.C. § 1361)
                                      (Against All Defendants)

           44.    The allegations contained in paragraphs 1 through 30 above are incorporated as

  though fully set forth herein.

           45.    Plaintiff seeks a writ of mandamus to compel Defendants officer(s) and/or

  employee(s) of the United States “to perform a duty owed to the plaintiff.” See 28 U.S.C.

  § 1361

           46.    Defendants have failed to discharge their mandated duties by unlawfully and

  unreasonably delaying the adjudication of Plaintiff’s Form I-526 Petition despite the Petition

  being in a condition supporting immediate adjudication and approval.

           47.    As a result of Defendants’ failure to adjudicate the Form I-526 Petition, Plaintiff

  has suffered and continues to suffer irreparable harm and damages entitling her to declaratory,

  injunctive and other relief.

           48.    Plaintiff has exhausted all possible administrative remedies and there exists no

  other adequate remedy.

                                            COUNT III
        Award of Attorneys’ Fees and Costs Pursuant to the Equal Access to Justice Act
                                (28 S.C. § 24125 U.S.C. §504)

           49.    Plaintiff realleges all the allegations contained in paragraphs 1-48 above as though

  fully set forth herein.

           50.    Plaintiff is entitled to attorneys’ fees and costs pursuant to the Equal Access to

  Justice Act, 28 U.S.C. § 2412, et. Seq. and 5 U.S.C. §504.




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                                     RELIEF REQUESTED

         WHEREFORE, the Plaintiff, IVANNA DEL CARMEN JIMENEZ RUIZ, prays that

  this Court:

         1.     Compel Defendants to perform their duty to adjudicate Plaintiff’s Form I-526
                Petition within fifteen (15) days or within a time frame this Court deems
                appropriate under the circumstances;

         2.     Enter a judgment declaring Defendants’ unreasonable delay and failure to
                adjudicate Plaintiff’s Form I-526 Petitions to be in direct violation of the APA
                and INA;

         3.     Grant attorney’s fees and costs to Plaintiff pursuant to the Equal Access to Justice
                Act; and

         4.     Grant such other and further relief as this Court deems just and proper.

  Dated: March 20, 2019.

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                                              By:     /s/ Carmen Contreras-Martinez
                                                      Carmen Contreras-Martinez
                                                      Florida Bar No. 093485




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                                                                    Comp. B
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                                                                      Comp. C
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